Case 1:24-cv-01844-TNM   Document 28-1   Filed 02/11/25   Page 1 of 4




                 EXHIBIT A
Case 1:24-cv-01844-TNM                        Document 28-1                Filed 02/11/25   Page 2 of 4




                    U.S. Postal Service™
           s
           D        CERTIFIED MAILMRECEIPT
           ru       (Domestic Mall Only; No Insurance Coverage Provided)
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           I"'-   Street, Apt No.     Virginia Department of Health, Office of Vital
                  or PO Box No.                        Records
                  City, SIBl6, ZIP.                        P.O. Box 1000
                                                   Richmond, VA 23218-1000
              Case 1:24-cv-01844-TNM         Document 28-1        Filed 02/11/25      Page 3 of 4
    ALERT: WINTER STORMS IN THE MIDWEST THROUGH THE NORTHEAST U.S. MAY DELAY FIN…



USPS Tracking
                                  ®                                                                   FAQs 




                                                                                                    Remove 
Tracking Number:

70030500000243288204




                                                                                                           Feedback
     Copy          Add to Informed Delivery (https://informeddelivery.usps.com/)




     Latest Update
     Your item has been delivered and is available at a PO Box at 10:51 am on February 7, 2025 in
     RICHMOND, VA 23218.



     Get More Out of USPS Tracking:
         USPS Tracking Plus®


     Delivered
     Delivered, PO Box
     RICHMOND, VA 23218
     February 7, 2025, 10:51 am

     See All Tracking History

 What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                       
   Text & Email Updates


                                                                                                       
   USPS Tracking Plus®


                                                                                                       
   Product Information


                                                 See Less 

Track Another Package
          Case 1:24-cv-01844-TNM       Document 28-1     Filed 02/11/25   Page 4 of 4

Enter tracking or barcode numbers




                                    Need More Help?
                      Contact USPS Tracking support for further assistance.


                                             FAQs
